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                         IN THE UNITED STATES BANKRUPTCY COURT


                                  FOR THE DISTRICT OF DELAWARE



In re:                                                    ) Chapter 11
                                                          )
                   1
YUETING JIA,                                              ) Case No. 19-12220(KBO)
                                                          )
                                    Debtor.


               INTERPRETER-TRANSLATOR DECLARATION OF SHAN HE
         RE: CERTAIN CREDITORS’ LETTERS IN OPPOSITION TO THE MOTION
     (I)TO DISMISS THE DEBTOR’S CHAPTER 11 CASE OR,ALTERNATIVELY,
     (ID TO TRANSFER VENUE TO THE CENTRAL DISTRICT OF CALIFORNIA

                  I, Shan He, hereby declare that the following is true to the best of my knowledge,

information and belief:


                  1.         I am a Chinese translator, simultaneous interpreter and localization project

manager employed since April 2017 by(a)Yueting Jia, the debtor and debtor in possession (the

*‘Debtor”L that has filed a voluntary petition under chapter 11 of title 11 of the United States

Code (the “Bankruptcy Code”)commencing the above-captioned bankruptcy case (the “Chapter

11 Case”), and (b)Faraday Future (“Faradav”L an entity in which the Debtor holds an indirect
interest.


                  2.         I am a native speaker of Chinese(Mandarin)and maintain full

professional fluency in English. I hold a Bachelor of Science degree in English from Beijing
Language and Culture University and a Master of Arts in Translation and Interpretation (Chinese

- English) degree from the Monterey Institute of International Studies(“MIIS”). I am certified

in Simultaneous and Consecutive Interpretation between English and Chinese by MIIS. I

currently provide translation services for the Debtor and his General Counsel. Prior to my work


' The last four digits ofthe Debtor’s federal tax identification number is 8972. The Debtor’s mailing address is 91
Marguerite Drive, Rancho Palos Verdes, CA 90275.


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with the Debtor and Faraday, I have provided interpretation and translation services for a variety

of organizations, including the United Nations Institute for Training & Research (UNITAR),

Syntes Language Group, and the Austrian Embassy.

               3.      I submit this declaration regarding the following letters of creditors

received by the Debtor in Opposition to the Motion (1) to Dismiss the Debtor’s Chapter 11 Case

or. Alternatively,(11) to Transfer Venue to the Central District of California (the “Letters”):

                    a) Wuxi Pule Investment Ltd

                    b) Wuxi Leyike Investment Ltd

                    c) Jiaxing Haiwen Investment Partnership

               4.      I have reviewed and translated the Letters into English. To the best of my

knowledge, my translation accurately reflects the contents and meaning of the Letters. Tme and

correct copies of the Letters and my translations are attached hereto as Exhibit A.

               I declare under penalty of perjury under the United States of America that the

foregoing is true and correct.

        Executed this 17 day of December 2019 at            Gardena           , California.




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Dear Mr. Jia:




We are a creditor asserting a claim in your bankruptcy case in the approximate amount
of US$8,783,216.




We write in response and opposition to Shanghai Lan Cai Asset Management Co, Ltd.’s
Motion (I) to Dismiss the Debtor’s Chapter 11 Case or. Alternatively, (I I) to Transfer
Venue to the Central District of California, filed with the Bankruptcy Court on November
13, 2019. We believe that all creditors should be given a full and fair opportunity to
consider your plan of reorganization and support your efforts to persuade the
Bankruptcy Court not to dismiss the case. Also, since we believe that this case must
proceed as expeditiously as possible, we see no benefit whatsoever to transferring the
case from Delaware to California, as is requested in the motion.




Please do not hesitate to contact us if we may be of additional assistance in this effort.

Wuxi Pule Investment Ltd


[Signature]

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Dear Mr. Jia:




We are a creditor asserting a claim in your bankruptcy case in the approximate amount
of US$11,450,829.




We write in response and opposition to Shanghai Lan Cai Asset Management Co, Ltd.’s
Motion (I) to Dismiss the Debtor’s Chapter 11 Case or. Alternatively, (II) to Transfer
Venue to the Central District of California, filed with the Bankruptcy Court on November
13, 2019. We believe that all creditors should be given a full and fair opportunity to
consider your plan of reorganization and support your efforts to persuade the
Bankruptcy Court not to dismiss the case. Also, since we believe that this case must
proceed as expeditiously as possible, we see no benefit whatsoever to transferring the
case from Delaware to California, as is requested in the motion.




Please do not hesitate to contact us if we may be of additional assistance in this effort.

Wuxi Leyike Investment Ltd

[Signature]

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Dear Mr. Jia:




We are a creditor asserting a claim in your bankruptcy case in the approximate amount
of US$250,000.




We write in response and opposition to Shanghai Lan Cai Asset Management Co, Ltd.’s
Motion (I) to Dismiss the Debtor’s Chapter 11 Case or. Alternatively, (II) to Transfer
Venue to the Central District of California, filed with the Bankruptcy Court on November
13, 2019. We believe that all creditors should be given a full and fair opportunity to
consider your plan of reorganization and support your efforts to persuade the
Bankruptcy Court not to dismiss the case. Also, since we believe that this case must
proceed as expeditiously as possible, we see no benefit whatsoever to transferring the
case from Delaware to California, as is requested in the motion.




Please do not hesitate to contact us if we may be of additional assistance in this effort.

Jiaxing Haiwen Investment Partnership

[Stamp]
